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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                    Magistrate Judge S. Kato Crews

  Civil Action: 20-cv-02702-RM-SKC                       Date: January 5, 2022
  Courtroom Deputy: Amanda Montoya                       FTR – Reporter Deck-Courtroom C-201*

   Parties:                                                      Counsel:

   KATELYN SCHILLER,                                             Benjamin DeGolia
                                                                 Ciara Anderson
                                                                 Matthew Cron

        Plaintiff,

   v.

   THE BOARD OF GOVERNORS OF THE                                 Skippere Spear
   COLORADO STATE UNIVERSITY SYSTEM,
   OVATIONS FOOD SERVICES, LP,                                   Emely Garcia
                                                                 Jacqueline Guesno
   MICHAEL BEST,                                                 Craig Silverman
   SCOTT SCHELL,                                                 Jeffrey Pagliuca

        Defendant.


                                       COURTROOM MINUTES

  HEARING: TELEPHONE DISCOVERY HEARING
  Court in session: 01:05 p.m.
  Court calls case. Appearances of counsel.

  This hearing is before the Court to discuss discovery disputes. The Court has reviewed emails
  sent to chambers.

  Discussion regarding the need to hold portions of this hearing off the record.

  ORDERED: Plaintiff is authorized to file a motion to compel regarding the issue of personal
           cell phones.

                     CSU shall provide Plaintiff with a list of names for whom they have searched for
                     ESI and a list of the search terms used.

  1:51 p.m.          Counsel and the Court switch to a secure conference line provided by counsel.
                     The remaining portion of the hearing is SEALED.
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  Discussion regarding Plaintiff’s deposition that has now been postponed.

  ORDERED: The Court will issue a protective order regarding Plaintiff’s deposition.

  Hearing Concluded.

  Court in recess: 02:56 p.m.
  Total time in court: 01:51

  *To order transcripts of hearings, please contact either Patterson Transcription Company at (303)
  755-4536 or AB Litigation Services at (303) 629-8534.
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